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CRIMINAL COMPLAINT
United States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.
Vv.
Warren Jose
DOB: 1983, United States Citizen MIAGISTRATE'S CASENO.

 

 

Complaint for violation of Title 8, United States Code § 1324 (a)(1)(A)G@i) I 1324(a)(1)(A)

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
COUNT 1 (Felony) On or about March 18, 2019, at or near Sells, in the District of Arizona, Warren Jose, and
other known and unknown defendants and conspirators, did knowingly and intentionally combine, conspire,
confederate, and agree with each other and other persons, to transport a certain illegal alien, to wit Adrian
Hernandez Morales, and did so for the purpose of private financial gain; in violation of Title 8, United States

Code, Sections 1324(a)(1)(A)(ii); 1324(a)(1)(A)(v)(D) and 1324(a)(1)(B) (i).

COUNT 2 (Felony) On or about March 18, 2019, at or near Sells, in the District of Arizona, Warren Jose, and
other known and unknown defendants and conspirators, did knowingly and intentionally combine, conspire,
confederate, and agree with each other and other persons, to harbor a certain illegal alien, including Adrian
Hernandez Morales, and did so for the purpose of private financial gain; in violation of Title 8, United States

Code, Sections 1324(a)(1)(A)(iii); 1324(a)(1)(A)(v)() and 1324(a)(1)(B)(i).

 

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
On or about March 20, 2019, at or near Sells, in the District of Arizona, Tohono O’Odham Police Officers

encountered Adrian Hernandez Morales, a suspected illegal alien and transported him to the hospital due to
blistered feet and dehydration. At the hospital, Morales told HSI agents that he was a citizen from Mexico who had
illegally crossed the International Boundary Fence between the United States and Mexico either during the late
hours of March 17, 2019 or the early morning hours of March 18, 2018 and subsequently needed medical attention.
Morales stated his foot guide told him to walk towards Sells and turn himself in to law enforcement. While walking
on Highway 86 in Sells, he was approached by 4 subjects in a red SUV. Morales explained to the 4 subjects in the
SUV that he was an illegal alien that had just crossed into the United States illegally and told them that he needed to
go to the hospital. The subjects offered to take him to the hospital but instead, took him to a residence. Morales
entered the residence after he was told to do so by the subjects and after another subject at the residence made a

threatening motion for him to enter the residence. ,
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MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE: j
Adrian Hernandez Morales ay fh [ i
DETENTION REQUESTED ~ QR Wenarne FE — sient LAINANT
COMPLAINT REVIEWED by AUSA Serra M. Tsethlikai
Being duly sworn, I declare that the foregoing is OFFICIAL TLE &
true and correct to the best of my knowledge. HSI Special Sem ad L. 1. Lakosky,

 

Sworn to before me and subscribed in my presence.

SIGNATURE Sn en whe. JUDGE} DATE
tee Lea c~__| April 9, 2019
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Morales was kept at the house despite his multiple requests to be taken to a hospital, and at one point was threatened
by a subject, later identified as Johnson Ortiz, with a knife and told to shut up. Morales had all of his personal
property taken from him at that point. Morales was asked what his final destination was, how much money he had, if
he knew anyone that had money to pay for him and was told that they would send someone to talk to him eventually
about payment. Morales remained in the house until he escaped through a window on March 20, 2019. He flagged
down a Tohono O’Odham Police Officer driving down the road. Later, that day, Morales positively identified, by
photo, a red GMC Yukon, bearing Arizona license plate CKR7121, as the vehicle that had been used to pick him up
and take him to the house that he had escaped.

On March 26, 2019, law enforcement agents conducted surveillance of the red SUV, a GMC Yukon, bearing Arizona
license plate CKR7121. At that time, agents saw a male and a female subject driving and riding in the vehicle during
a suspected alien smuggling event in Tucson, AZ. Agents positively identified the male subject as Warren Jose.

On April 2, 2019, Morales was shown two photo lineups of the male and female subjects. Morales identified Warren
Jose as the driver of the vehicle that had picked him up in Sells on March 18, 2019 and took him to the house that he
later escaped from. Morales gave a description of details as to how he knew Jose was the driver of the vehicle.
